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                                                                                   2022 Aug-30 AM 08:49
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

MELISSA FENDLEY,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

DAVID PROPERTIES, INC.,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues DAVID PROPERTIES, INC., for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff,   MELISSA      FENDLEY         (hereinafter   referred   to   as

“FENDLEY”) is a resident of Warrior, Alabama and is a qualified individual with a

disability under the ADA. FENDLEY suffers from what constitutes a “qualified

disability” under the Americans with Disabilities Act of 1990, (“ADA”) and all other

applicable Federal statutes and regulations to the extent that she suffers from

paraplegia and requires a wheelchair for mobility. Prior to instituting the instant

action, FENDLEY visited the Defendant’s premises at issue in this matter numerous

times, and was denied full, safe and equal access to the subject properties due to their

lack of compliance with the ADA. FENDLEY continues to desire and intends to

visit the Defendant’s premises but continues to be denied full, safe and equal access

due to the barriers to access that continue to exist.

      4.      The Defendant, DAVID PROPERTIES, INC., is a domestic

corporation registered to do business and, in fact, conducting business in the State

of Alabama.       Upon information and belief DAVID PROPERTIES, INC.,

(hereinafter referred to as “DPI”) is the owner, lessee and/or operator of the real

property and improvements that are the subject of this action, specifically: Jim

Deerman’s Barbeque Restaurant, located at 2444 Palomino Lane, Birmingham,

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Alabama (hereinafter referred to as the "Restaurant").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Restaurant

owned by DPI is a place of public accommodation in that it is a restaurant, bar, or

other establishment serving food or drink operated by a private entity that provides

goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurant in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurant owned by DPI.

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Prior to the filing of this lawsuit, Plaintiff personally and regularly visited the

Restaurant at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 11, below, that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Restaurant, but continues to be injured in that she is unable to and continues

to be discriminated against due to the barriers to access that remain at the Restaurant

in violation of the ADA. FENDLEY has now and continues to have reasonable

grounds for believing that she has been and will be discriminated against because of

the Defendant’s, deliberate and knowing violations of the ADA.

      10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.    DPI is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302

et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:

             i.     The two (2) parking spaces with some indicia of accessibility
                    have no raised accessible signage to designate them as such or
                    to designate the van accessible parking space as such;




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             ii.    The running slopes and cross slopes of both parking spaces
                    with some indicia of accessibility, as well as the running and
                    cross slopes of the shared access aisle between them are too
                    steep for a wheelchair;

             iii.   The four (4) tables in the outdoor dining area have no knee
                    clearance or toe clearance necessary for a wheelchair user such
                    that no exterior dining tables are provided for a wheelchair user;

             iv.    All of the interior dining tables have insufficient knee and toe
                    clearances for a wheelchair user such that no interior dining
                    tables are provided for a wheelchair user;

             v.     The flush valves on the accessible water closet in the accessible
                    toilet room is located on the far/closed of the water closet, out
                    of reach of a wheelchair user;

             vi.    The toilet paper dispenser is located too far from the water
                    closet and is out of reach of a wheelchair user;

             vii.   The paper towel dispenser is located to high and is out of reach
                    of a wheelchair user;

      12.    There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by DPI that were not specifically identified

herein as the Plaintiff is not required to engage in a futile gesture pursuant to 28

C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed by

Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance


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with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

DPI was required to make its Restaurant, a place of public accommodation,

accessible to persons with disabilities by January 28, 1992. To date, DPI has failed

to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against DPI and requests the

following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

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           C.    That the Court enter an Order directing Defendant to
                 evaluate and neutralize its policies and procedures towards
                 persons with disabilities for such reasonable time so as to
                 allow them to undertake and complete corrective
                 procedures;

           D.    That the Court award reasonable attorney’s fees, costs
                 (including expert fees) and other expenses of suit, to the
                 Plaintiff; and

           E.    That the Court award such other and further relief as it
                 deems necessary, just and proper.

     Dated this 29th day of August, 2022.

     Respectfully submitted,

                                            By: /s/ Edward I. Zwilling
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